70 F.3d 1264
    NOTICE: Fourth Circuit Local Rule 36(c) states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Homer W. WALKER, Plaintiff-Appellant,v.Elizabeth MANTON, United States Public Defender;  Gale M.Adams, Assistant Public Defender;  Larue Baker Hall, UnitedStates Senior Probation Officer;  Mary F. King, UnitedStates Probation Officer, Defendants-Appellees.
    No. 95-7238.
    United States Court of Appeals, Fourth Circuit.
    Submitted Nov. 16, 1995.Decided Nov. 22, 1995.
    
      Appeal from the United States District Court for the Eastern District of North Carolina, at Raleigh.  W. Earl Britt, District Judge.  (CA-95-332-5-BR)
      Homer W. Walker, Appellant Pro Se.  Barbara Dickerson Kocher, OFFICE OF THE UNITED STATES ATTORNEY, Raleigh, North Carolina, for Appellees.
      E.D.N.C.
      AFFIRMED.
      Before MICHAEL and MOTZ, Circuit Judges, and BUTZNER, Senior Circuit Judge.
      PER CURIAM:
    
    
      1
      Homer W. Walker filed this action under 42 U.S.C. Sec. 1983 (1988) against various federal officials alleging ineffective assistance of counsel and errors in his presentence report.  Because Walker failed to state a claim either under Sec. 1983 or Bivens,* we affirm on the reasoning of the district court.  Walker v. Manton, No. CA-95-332-5-BR (E.D.N.C. Aug. 2, 1995;  Aug. 14, 1995).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the court and argument would not aid the decisional process.
    
    
      2
      AFFIRMED.
    
    
      
        *
         Bivens v. Six Unknown Named Agents of Fed.  Bureau of Narcotics, 403 U.S. 388 (1971)
      
    
    